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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA                    )
                                            )
        v.                                  )     Criminal Action No. 23-cr-61-MN
                                            )
ROBERT HUNTER BIDEN,                        )
                                            )
                           Defendant.       )

             JOINT SUBMISSION ON COURT’S PROPOSED VOIR DIRE

        The parties, through undersigned counsel, write in response to the Court’s Oral

Order (Doc. No. 195) requesting any corrections or objections to the Court’s Proposed

Voir Dire, and respectfully request as follows:

Question 2 – please insert the following language prior to the final question (Have

you heard…): “Mr. Biden has pled not guilty to each of the charges and is presumed

to be innocent.”

Question 2i. and 2.ii – the defendant requests the word “knowingly” be added. The

government opposes this request as unnecessary and asks the current version sent

by the Court be used.

Question 2iii. – the government requests that this instruction be modified to “Count

Three charges the defendant with possession of a firearm by a person who is an

unlawful user of or addicted to a controlled substance.” The defendant opposes as not

including an essential element and asks the current version sent by the Court be

used.

Question 42 – please change to the following: “Testimony may be presented in this

case by a witness who has received a grant of immunity. I instruct you that if such a

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witness testifies, you will have to evaluate that witness’s testimony as you would that

of any other witness. If you are selected as a juror in this case, will you have difficulty

following this instruction?” No witnesses are expected to testify in this trial pursuant

to a plea agreement. The defendant requests the second sentence reads: “I will

instruct you on how to carefully evaluate such an immunized witness’s testimony”

because stating that such testimony is heard “as you would that of any other witness”

is not correct and differs from both parties’ proposed jury instructions.             The

government opposes this change.

                                                 Respectfully submitted,

                                                 DAVID C. WEISS
                                                 Special Counsel


                                            By: /s/ Derek E. Hines
                                                Derek H. Hines
                                                Senior Assistant Special Counsel
                                                Leo J. Wise
                                                Principal Senior Assistant Sp. Counsel
                                                U.S. Department of Justice


                                                 /s/Abbe David Lowell
                                                 Abbe David Lowell
                                                 Counsel for Defendant
May 30, 2024




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